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                                UN ITED STATES DISTRICT CO UR T
                                SO UTH ERN D ISTRICT O F FLOR ID A

                            CA SE NO .O4-I4OIS-CR -G RAH AM /M A YNA RD

    UN ITED STATES O F AM ERICA,

           Plaintiff,                                           FILE: dy          D.C.
    V.
                                                                   k
                                                                   (I
                                                                    JC 1C 2917
    AN DRE JAM A AL W ILLIA M S,
                                                                   STEVENM LARSMORE
                                                                  s.D.
                                                                    CLoF
                                                                      ERKt/.
                                                                        FLlb-
                                                                            ,n:
                                                                             Dl
                                                                              sxcRc
                                                                               pl
                                                                                EmE
           Defendant.
                                                   /

     R EPOR T AN D REC OM M END ATIO N ON FINA L H EARING IN RESPECT O T TH E
            PETITION ALLEG ING W O LA TIO NS OF SU PERW SED RELEASE

           THIS CA U SE having com e on to be heard fora fsnalhearing on July 27,2017 in respect

    to the pending Petition Alleging ViolationsofSupervised Release (D.E.168j,andthisCourt
    having received testim ony, evidence, and argum ents of counsel, recom m ends to the District

    Courtasfollows:

                  Defendant is charged by a Petition w ith the following violations of supervised

    release'
           .

    V iolation N um ber 1               V iolation of M andatoa Condition,by failing to refrain
                                        from violation ofthe law . On or aboutApril21,2017,in
                                        M artin County, Florida, the defendant did com m it the
                                        offenses ofpossession ofacontrolled substance in violation
                                        ofFlorida Statute 893.12(6$,possession ofcannabis less
                                        than 20 gramsin violation ofFlorida Statute 893.13461$,
                                        and possession ofdrug paraphernalia in violation ofFlorida
                                        Statute 893.147.

    Violation N um ber 2                V iolation of M andatoa Condition, by failing to refrain
                                        from violation ofthe law . On oraboutM ay 16,2017,in St.
                                        Lucie County, Florida, the defendant did com m it the
                                        offenses of
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                                        Count 1: Possession of w eapon or am m unition by
                                        convicted United States Felon,in violation of Florida
                                        Statute 790.23.1C;

                                        Count2:Possession ofcannabis w ith intentto sell,deliver,
                                        or m anufacture,within 1000 feetof a place of worship,in
                                        violation ofFlorida Statute 893.12.1E2;

                                        Count3:Possession ofm ore than 20 gram s ofcannabis,in
                                        violation ofFlorida Statute 893.126A ;

                                        Count 4: Possession of synthetic narcotic, opium or
                                        derivative,w ith intentto sell,deliver,m anufacture,within
                                        1000 feet of a place of w orship, in violation of Florida
                                        Statute 893.13.1E 1;

                                        Count 5: Use or possession of drug paraphernalia, in
                                        violation ofFlorida Statute 893.147.1;and

                                        Count6:Possession ofnew drugsorlegend drugswithouta
                                        valid prescription,in violation ofFlorida Statute 499.03.1.

   V iolation Num ber3                  V iolation of M andatoa C ondition,by failing to refrain
                                        from violation of the law . According to Crim inal
                                        ComplaintN o.17-058-FJL,Southern D istrictofFlorida,on
                                        or about M ay 17,2017, in St.Lucie County,Florida,the
                                        defendant did comm itthe offense offelon in possession of
                                        firearms and am m unition,in violation ofFederalStatute 18
                                        U.S.C.j922(g)(1).
                  A tthe stal'tofthe finalhearing,the governm entindicated its intentto incorporate

   the testim ony from the detention and probablecause hearing held in thism atteron July 13,2017.

   Defense counselhad no objection. Asaresult,thefollowing recitation offactsistaken from
    both hearingsheld in thism atter.

                  The Grst w itness called by the governm ent was M artin County Sheriff's Office

    (M CSO)DetectiveMichaelMccarthy. Det.M ccarthy hasbeen in the SpecialInvestigations
    and N arcotics Crim es Section of M CSO for one year. He has been involved in over l00

    mari
       juanaarrests. Det.M ccarthy testifiedthatatapproximately 5:2lam onApril21,2017 he
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    responded to a reckless driving com plaint. The complainant advised him that a w hite D odge

   pickup truck w as weaving across the roadway and cam e to a stop in a turning lane ofN ortheast

   FederalH ighway. Det.M ccarthy wentto the location and saw D efendant'svehicle running w ith

   the right turn signal and brake lights on,and Defendant sleeping in the driver's seat. D et.

    M ccarthy approached the truck and instructed D efendant to get out ,
                                                                        of the vehicle. After

    Defendantexited thetruck,Det.Mccarthy saw mari
                                                 juana tsshake''on the floorboard.l Det.
   M ccarthy then searched the truck and found a backpack on the frontpassenger seat. lnside the

    backpack, Det. M ccarthy found a pair of men's basketball shorts and sneakers. Inside the

   backpack'sfroùtpocket,Det.Mccarthy found five pills,a black digitalscalewith marijuana
   residueonit,andasmallamountofadditionalmari
                                             juanashake.Thepillswereconfirmedtobe
    hydromorphone,andthesubstanceinthefrontpockettestedpositiveformarijuana.
          4.      During D et.M ccarthy'stestim ony,the governm entoffered Exhibits 1 and 2 into

    evidence.Exhibit1isasealedplasticbag containing ablack digitalJudge-brand scale.Exhibit

   2isasealedplasticbagcontainingmari
                                    juanaandfivewhitepills.Det.M ccarthytestifiedthat
   Exhibits 1and 2 w eretaken from the backpack located on thepassenger'sseatofDefendant's

   vehicleonApril21st.ThemarijuanainExhibit2wasresiduecollectedfrom thebackpack's
   frontpocket.Therewasnotenoughmarijuanaonthefloorboardtocollectandpreserveit,but
   whatwastherewasfieldtestedatthesceneandcamebackpositiveasmarijuana.
                  On cross exam ination, Detective M ccarthy testifsed that he did not seize the

   backpack;rather,he leftitand the clothesitcontained inside Defendant'struck. D et.M ccarthy

    also testified thathe did notask Defendantaboutthe backpack on the21st. H e did,however,ask

   1The term (tshake''isused to describe sm allpiecesofcannabis flow erthatbreak offthe larger
   buds,generally asthe resultofregularhandling.

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    Defendant if he had a prescription for the pills,to which D efendantresponded no. Defendant

    also claim ed the shake on the tloorboard wasincense,although ittested positiveforcannabis.

           6.     On re-directexam ination by the governm ent,Det.M ccarthy stated thathe found

    a container w ith a green substance inside the driver's side door of D efendant's vehicle.

    Defendant told Det. M ccarthy that this w as an herbal product he burned as incense. Det.

    Mccarthy saidthesubstancedid notlook orsmelllikemarijuana,and didnottestpositivefor
    cannabis.



                  The nextw itness called by the governm entw as U nited States Probation Officer

    (USPO)Beau McGee.USPO McGeetestifiedthatonM ay 16,2017federalprobation officers
    conducted a search ofD efendant's residence,w here Defendantlives w ith his fiancé and hertwo

    children. W hile searching the m aster bedroom ,probation offcers found a loaded Taurus .380

    handgun (Firearm #1) underthe mattress between the mattressand box spring;a magazine
    containing am m unition and a clearplastic baggie containing two pills in a nightstand on the left

    side ofthe bed;and a clearplastic baggie containing tw o ecstasy tablets. USPO M cGee believed

    tw o ofthe pillsw ere sleeping aids,buthe w asunsure ifthey required aprescription.

           8.     The governm ent introduced Exhibits 3,4 and 5 through U SPO M cG ee. Exhibit3

    is a picture ofthe m attress and box spring in the m asterbedroom . The m attress iscovered by a

    gray sheetand the box spring iscovered by a white sheet. Exhibit4 show sthe firearm as itwas

    found on the box spring. Exhibit 5 is a firearm case under the bed.From the perspective of

    facing the head ofthe bed,the case w as on the leftside ofthe bed. U SPO M cGee testified that

    the gun case contained am m unition and gun lube,though only the am munition is depicted in

    Exhibit5.
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                  On cross exam ination, U SPO M cGee testified that when he arrived at the

   residence that m orning, other probation officers and officers from Port St. Lucie Police

   Department(PSLPD)werepresent.ThePSLPD officersdidnotparticipateintheinitialsearch
   conducted by probation; they w ere present as security only. Once the probation officers

   discovered the fsrearm and pills in the m aster bedroom ,how ever,PSLPD officers obtained a

    state search warrantauthorizing them to search. U SPO M cGee leftwhen the localpolice began

   theirsearch.



           10.    The governm ent's next w itness was PSLPD D etective John Dellacroce. D et.

    Dellacroce hasbeen an ofscerw ith PSLPD since 2013,and a narcotics detective since 2015. He

    hashandled approxim ately 100 narcoticscases,and has attended variouscoursesincluding DEA

    cannabis school,online schoolsand the Police Academ y. Priorto becom ing a detective,he w as

    a road patrolofficer. D et.Dellacroce testified thatthe U nited StatesProbation Office contacted

    PSLPD on M ay 16th to provide security for a search ofa probationer's residence. Initially,the

    probation officers conducted the search whileD et.D ellacroce and otherPSLPD officers stood in

    the vicinity as security. After probation officers found Firearm #1, however, Probation

    discontinued theirsearch and Det.D ellacroce obtained a state search warrantauthorizing PSLPD

    to search the residence. Pursuantto the warrant,PSLPD officers searched and found a second

    handgun(Firearm //2),multipleroundsofammunition,mari
                                                       juanainaTuppenvarecontainer,and
    variouspillstesting positiveforM DM A and M D PA .

                  Det.D ellacroce testifed that Firearm //2 w as a black .3, 80 caliber Jim inez Arm s

    handgun found in the m asterbedroom closet. Governm entExhibit 10 show sthe m asterbedroom

    closetwherethe firearm wasfound lying on top ofasize 12 shoe box beneath men'sjeans.
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    Governm entExhibit 11 is a close up of the firearm ,and Governm entExhibit 12 is the tsrearm

    with the m agazine and am m unition rem oved.

                   Policealsodiscovered 120gramsofmari
                                                     juanainaTupperwarebowlbeneaththe
    counter in the m aster bathroom . Det.D ellacroce testified based on his training and experience

   that 120 gram s is an am ountforsale,notpersonaluse. D et.Dellacroce said thata personaluse

    am ountw ould probably be a couple ofgram s,not 120 gram s. Exhibit 8 show sthe Tupperw are

    containerwith the marijuana inside. Exhibit9 shows each marijuana bag laid out. Det.
    Dellacroce also testified thatDefendantlives within 750 feetofa church.

           13.     Inside D efendant's garage, law enforcem ent found another Judge-brand black

    digitalscaleandplasticbaggies.Thescalehad residueon itthattested positive formarijuana.
    Det.Dellacroce testified thatscales of this type are typically used to w eigh and m easure drugs,

    and baggiesofthistype are typically used forpackaging drugs. G overnm entExhibit13 depicts

    the digital scale. Exhibits 15, 16 and 17 depict a black bucket containing num erous plastic

    baggies also found in the garage.

           l4.     PSLPD officers also found a m agazine,am munition,and variouspillsin a dresser

    draw er on the leftside of the m aster bedroom . Governm ent Exhibit 18 shows the inside of a

    drawercontaining money in plastic bags,whatappearsto bejewelry (possibly a watch or
    bracelet),andtwosmallpills(depictedonthebottom righthandsideofthephoto).Government
    Exhibit 19 show s a close up of the tw o pills,which D et.Dellacroce testified are Ecstasy pills.

    Governm entExhibit20 and 21 show s another drawer containing various item s. Atthe bottom

    leftof the picture in the corner of the draw er is. a pill,w hich field tested positive as M D M A .

    Governm ent's Exhibits 24 and 25 depictan orange N ike shoe box containing num erous plastic

    baggies found in the sam e m asterbedroom asthe frearm ,am munition and pills. M ore pillsw ere
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    found in the m aster bathroom closetshown in Exhibit22. Exhibit23 is a close up of a yellow

    bag containing pills in the bathroom closet. The pillsGeld tested positive forM DPA .Exhibit 14

    isapackage ofraw rolling papers found on a shelfin a kitchen cabinet.

           15.    On crossexam ination by defense counsel,D et.D ellacrocetestified thatDefendant

    w as interview ed tw ice in Det. Dellacroce's presence. 80th interview s w ere recorded. Det.

    D ellacroce also stated that he w as present during a subsequent interview w ith D efendant's

    fiancé,w ho said the firearm s were hers and were obtained from a friend. D et. Dellacroce

    testified thatFirearm //2 w as tested for fingerprints,and no Gngerprints w ere found. He was

    uncertain whetherithad been tested forDNA . Det.D ellacroce said his testim ony that120 gram s

    ofmarijuanaisadistributionamountwasbasedonanumberoffactors,includingtheamountof
    marijuana,and the presence of baggies and a digitalscale with mari
                                                                     juana residue on it.
    D ellacroce acknowledged,however,thatthe presence ofrolling papers indicatespersonaluse.



           l6.    The last w itness to testify for the governm ent was A TF Special Agent Seth

    Christy. AgentChristy investigatesviolations ofthe federalstatuteson Grearm s,explosivesand

    arson. AgentChristy has been an ATF agentforapproxim ately one year. Before that,he w as a

    specialagentwith the Florida Division ofA lcohol,Tobacco and Firearm s. Priorto that,Agent

    Christy served asa sergeantin the U .S.A irForce Reserve.
                  Agent Christy testified that he was contacted on M ay 16th by PSLPD to assist

    w ith D efendantbecausethe case involved firearm s. W hen AgentChristy arrived,Defendantw as

    handcuffed outside ofthe residence.A gentChristy and D et.D ellacroce intelwiewed D efendant.

    During Agent Christy's testim ony, the governm ent published Exhibit 28 w hich is an audio

    recording ofa police interview of Defendant. This Coul'tlistened to the audio recording in open
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    court. Atthe beginning ofthe interview ,agents offered Defendant an ATF Form waiving his
               '

    Mirandarights.Defendanithen statedthathelivesattheresidencewithhistsancéand hertwo
    sons,and hesharesthemasterbedroom w ithhisfiancé.He said heboughtthefirearmsfor$200
    each from a person nam ed Sefton who obtained them from a paw n shop. He said he purchased

    one firearm in or around N ovember, and the second firearm around M arch. He said both

    firearm s w ere for his fiancé,w ho always kept the firearm s (seither in her draw er or under her

    bed.'' Soon afterthis statem ent,D efendantsaid hisfiancé know she m ay nothave guns,she does

    not have them around him , and he is not supposed to know w here she keeps them . W hen

    confronted by the fact that he clearly knew where she kept the guns, Defendant responded,

    ûçYeah,lasttim e Iknew ,yeah. I'm keeping ithonest.''

                   D cfendantand A gentChristy then engage in the follow ing discussion:

    Officer:       Gunsand everything,evertouch those before?

    Defendant:     Yeah.

    OfGcer:        Yourfingerprintsw illbe on them ?

    Defendant: glnaudible.) Shedon'tknow nothingaboutcleaningthem,shedon'tknow
               nothingaboutnothing.Shejust- lmean itstimesthat1'm nothere,and
                   herand the kidsare here. 1nevertouched a bullet.Everything cam e asis.

    Oficer:        W ellthere's a m agazine and bulletin yourtop leftdraw er.

    Defendant:     lsitone ortwo?

    Officer:       One m agazine rightnextto yourmoney.

    Defendant:     Ok.Yeah.A lright.

    Officer:       You knew aboutthat?

    Defendant:     Yes.1knew aboutthatstuffthere,butshe knows...


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    At this point,Defendant's story about the Grearm s begins to change. H e tells agents that his

    fiancé w as actually the one w ho boughtboth guns from Sefton. Defendantsaid he called Sefton

    and said he needed to geta Ssclean''gun forhisfiancé,Sefton cam e to Defendant's house to pick

    up the m oney,butD efendant'sfiancé wentby herselflaterand picked up the firearm s.

           19.     Defendanttold law enforcem entthathe took çdfullresponsibility''for drugs in the

    house.Hetoldthem aboutthemarijuanaintheTupperwareinthebathroom,and identifiedthe
    pills. He said hisfiancé doesnotdo drugs,and had nothing to do with any drugs in the home.

           20.     AgentChristy also testified thathe contacted the State of Florida to detenuine if

    D efendant's right to bear firearm s has ever been restored, w hich it has not. During Agent

    Christy's testim ony,defense counselstipulated thatthe srearm s and am munition recovered on

    M ay l6thtraveled in interstate com m erce.

                   On cross exam ination, defense counsel asked A gent Christy whether law

    enforcem ent had interview ed the person D efendant claim ed he purchased the firearms from .

    AgentChristy testified thathe had interviewed thatindividualwhom A gentChristy referred to as

    M r.Sarcoccio. According to A gentChristy,M r.Sarcoccio stated thathe sold Defendant a gun

    on two separate occasions. Each tim e,he wentto D efendant's house,m etw ith D efendantwho

    paid him m oney for the firearm ,and leftthe gun on the table. A gent Christy could notrecall

    w ith M r.Sarcoccio said D efendant'sfiancéw asthere ornotduring these tr4nsactions.



           22.     The governm entrested its case.



           23.     TheD efendantdid notcallany w itnessesorpresentany evidence.


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                                              AN ALYSIS

            24.    This Court has considered a1l of the evidence subm itted, being the sw orn

     testim ony and exhibits,as w ellas argum ents of counsel. The standard ofproof in violations of

     supervised release is by a preponderance of the evidence and not beyond a reasonable doubt.

     Revocation of supervised release is treated as pal'
                                                       t of the penalty phase for the initial offense

     involved. To constitute a violation,the conductinvolved need notbe crim inaland the defendant

     needonlybefoundculpablebyajudgeunderapreponderanceoftheevidencestandard.United
     Statesv.Cunninaham,607F.3d 1264(11thCir.2010).
            25.    Regarding V iolation 1, the governm ent has proved to this Court by a

     preponderance of the evidence that on April 21st Defendant had actual possession of five

     Hydromorphone pills, a digital scale, and less than 20 grams of mari
                                                                        juana. Detective
     M ccarthy's testim ony and Governm ent Exhibits 1 and 2 are unrebutted in this regard.

     Defendantwasdriving a vehicle in which Hydromorphone pills,marijuana and a scalewith
     marijuanaresidueonitwerefound;hewastheonlyperson inthecar;theseitemswerefound in
     a readily accessible location in a backpack on the passenger seat next to him ; the backpack

     contained male clothing in addition to drugs and the scale,and since ljefendantwasthe only
     m ale in the car this is further indication thatthe backpack w as his. W hen Defendant gotoutof

     the truck, Det. M ccarthy saw a substance on the floorboard that field tested positive for

     marijuana,eventhoughDefendantclaimeditwasincense.Det.MccarthyaskedDefendantifhe
     had a prescription for the Hydrom orphone and D efendant sim ply said ç:N o'';he did not deny

     ow nership of the pills or backpack. M oreover, the digital scale in the backpack was

     manufactured by the same company (Judge)asthedigitalscale found in Defendant'sgarage.


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    These circum stances strongly suggest that the backpack and everything inside it belonged to

    Defendant.ThisCourtfindsthatthe governm enthasm etitsburden w ith respectto V iolation 1.

                  V iolation 2 alleges Defendantfailed to refrain from violation ofthe law on M ay

     16,2017 in six differentways:possession ofa w eapon by a convicted U.S.felon;possession of

    cannabis w ith intentto sellw ithin 1000 feetof a place of worship;possession of m ore than 20

    gram s of cannabis;possession of synthetic,narcotic,opium of derivative w ith intentto sellor

    deliver w ithin 1000 feet of a place of w orship;use or possession of drug paraphernalia; and

    possession ofnew orlegend drugsw ithouta valid prescription. Proofofany one ofthese crim es

    by a preponderance of the evidence would m eet the governm ent's burden to establish that

    defendantviolated a m andatory condition ofsupervised releaseby breaking the law .

                  The first state offense alleged in V iolation 2 is that Defendant, having been

    convictedofafederalfelony,possessedaweaponorammunition.TheCourttakesjudicialnotice
    ofDefendant'sunderlying charge ofconviction. D efendantw as convicted ofa federalfelony on

    October 29,2004. The only question rem aining is w hetherD efendant possessed a firearm on
    M ay 16th when his residence w as searched. Ct-f'he governm entneed notprove acm alpossession

    in order to establish know ing possession; it need only show constructive possession through

    directorcircumstantialevidence.''UnitedStatesv.Beckles,565F.3d832,841(1lthCir.2009)
    (quoting United States v. Greer, 440 F.3d 1267,             (11th Cir.2006)).A defendant
    constructively possessesafirearm orammunitionifhe(1)isawareoforknowsofthefirearm's
    orammunition'spresenceand (2)hastheability and intenttoexercisecontroloverthatfirearm
    orammunition.UnitedStatesv.Perez.661F.3d568,576(11thCir.2011)(percuriam).
           28.    The governm ent has m et its burden to establish by a preponderance of the

    evidence notonly that D efendantknew of the presence ofthe Grearm s and am m unition in the
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    house,butalso thathe had the ability and intentto exercise controloverthese item s as required

    to establish constructive possession. A sto the firstprong ofthe constructive possession test,the

     evidence is clear that Defendant knew about the presence of the firearm s and am m unition.

    D uring the recorded interview , Defendant adm itted having arranged the purchase of both

     fsrearm s. H e said he purchased the firearm s forhis tsancé from som eone who could getCsclean''

     firearmsfrom a pawn shop since Defendantis notallowed in pawn shops(because he isa
     convictedfelon).Byhisown admission,thefirearmshad been inDefendant'shomeforseveral
     m onths.D efendant told 1aw enforcem ent exactly w here at least one of the fireanus could be

     found,stating thathis fiancé keptthe gun çdin herdresser or under her bed.'' The evidence also

     suggests thatD efendantknew w here Firearm //2 wasas w ell,since itwas found in the closetof

    hism asterbedroom on top ofm en's shoe boxesand below m ale clothing,w hich are presum ably

     his. Thesefactsshow D efendantw asaw are ofthe fireanusand am m unition.

                    As to the second prong of the constructive possession analysis,the sam e facts

     supportan inference thatDefendanthad the ability and intentto controlthe gun and am m unition.

     He knew there w as a gun beneath the mattress he slepton,and could notfailto seethe other gun

     when he w alked in the closetwith his clothes and shoes. 80th guns contained am m unition,and

     there w as also am m unition in a draw er in the dresser he claim ed as his. D efendant told law

     enforcem ent in the recorded statem ent that he had touched the guns,although he claim ed he

     nevertouched a bullet. Defendant also claim ed during the interview thathe had never cleaned

     the gun,w hile at the sam e tim e acknow ledging that his fiancé does not dsknow nothing about

     cleaning them , she don't know nothing about nothing.'' Despite D efendant's denials, it is

     reasonable to inferthatD efendant had previously exercised controloverthe seized firearm and

     m aintained the ability to continue to do so.
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                   Thepresenceofmarijuana,Ecstasy,MDMA,MDPA,andbaggiesthroughoutthe
    house,andadigitalscalewith mari
                                  juanaresidueonit,isalsorelevanttoprovingthatDefendant
    know ingly possessed firearm s in the hom e in violation of state and federal law . Courts have

    noted a strong correlation betw een narcotics sales and the possession of firearm s,and held that

    the presence of illegaldrugs and paraphernalia is dçinextricably intertw ined''w ith possession of

    weaponsfoundnearby.UnitedStatesv.Thomas,242F.3d 1028(1lthCir.2001);UnitedStates
    v.Simon,767 F.2d 524,527 (8th Cir.1989)(becauseoftheknown correlation between drug
    dealing and w eapons,evidence of drugs and drug paraphernalia in the sam e room as Grearm s

    tendstoprovethetsrearmsareknowinglypossessed).
                  This Courtdoes not find D efendant's attem ptto distance him self from the guns

    credible. He adm itted that he boughtthe guns,he acknow ledged thathe knew where the guns

    werekeptin the hom e,he acknowledged thatthe drawerwhere am m unition and pillsw ere found

    belonged to him ,and he acknow ledged that had touched the guns before. That is m ore than

    sufficient evidence to establish that Defendant possessed the guns and am m unition by a

    preponderance ofevidence standard.

                  The second offense alleged in Violation 2 is that Defendant possessed cannabis

    with intent to sell, deliver or m anufacture, w ithin 1000 feet of a place of w orship. D et.

    Dellacroce testified,and Defendantdid notrebut,thatD efendant's residence is w ithin 1000 feet

    ofa church. D et.Dellacroce said he has seen parishioners going in and outofthe church,and

    otherPSLPD officers have w orked security detailatthe church. During his interview with Iaw

    enforcem ent,D efendant adm itted that any drugs in the house w ere his,and said he Sctook full

    responsibility''formari
                          juanaand otherillegalsubstancesfound in the home. Thus,theonly
    question thatremainsiswhetherDefendantpossessed themarijuana forpersonaluse,orwith
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   intentto sellordistributeit.Theoffenseofpossessing acontrolled substancesuch asmarijuana
   with the intentto sellitin violation of j 893.13(1)(e)(2),Fla.Stat.,can be proven through
   circum stantialevidence.Such relevantcircum stantialevidence can consistofthe drug's quantity,

   accom panying equipm entorparaphem alia,and the contextin w hich the drugs w ere found.Also

   relevantis law enforcem entopinion testim ony thatexplains w hatcircum stances are m ore typical

   of distribution and selling than m ere personal use.Even if the quantity of the dnzgs is sm all,

   evidence such asthe m annerofpackaging stillm ay indicate the intentto sellthatsm allquantity.

   ThisCourtdrawsthisgeneralrulefrom Phillipsv.State,961So.2d 1137(F1a.2ndDCA 2007),
   Balmesv.State,838So.2d641(Fla.5thDCA 2003),Rawlingsv.State,979So.2d 1238(Fla.4th
   DCA 2008),andHanisv.State,72 So.3d 804(F1a.4thDCA 2011).Likewisefederal1aw allows
   the use ofthose sam e kinds of circum stantialevidence to prove the equivalentfederaloffense of

   possession withintenttodistributeinviolationof26U.S.C.j 841(a)(1).SeeU.S.v.Gasner,524
   Fed.Appx.514 (11th Cir.2013),U.S.v.Bobadilla-pagan,747F.3d 26 (1stCir.2014),andU.S.
   v.Penier,619 Fed.Appx.792 (11th Cir.2015).This Court finds sufficient circumstantial
   evidenceheretofindthattheDefendantpossessed themarijuanawiththeintentto sellit.Here
   theDefendantwasfound to possess 120 gramsofmarijuana.Det.Dellacrocetestifiedthatthat
   quantity is m ore consistentwith selling and farexceeds the quantity typicalofm ere personaluse.

   Italso farexceedsthe 28.8 gramsthatlaw enforcem entin theRawlingscasesaid wasconsistent

   with the intentto sell.Itisclosertothequantitiesthat1aw enforcementsaid in Bobadilla(210
   grnms)and Gasper(252 grnms)wasconsistentwith theintentto sell.HeretheDefendantalso
   wasfound to bein possession ofparaphernalia and toolsconsisting oftwo digitalscales(with
   marijuana residue on them) and numerous clear baggies.Det.Dellacroce testified thatthe
   presence ofthese scales and baggies is m ore consistentw ith selling drugs than personaluse.The
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    presence of such baggies and scales was found to be compelling circum stantialevidence in the

    above cited cases,as well.

                  The third offense alleged in Violation 2 isthatDefendantpossessed m orethan 20

    gramsofcannabisinviolationofFloridalaw. DetectiveDellacrocetestified thatthemarijuana
    found under the bathroom counterw eighed 120 gram s. The governm ent has therefore m et its

    burden asto thisviolation.

           34.    The fourth offense alleged in V iolation 2 is thatD efendantpossessed a synthetic

    narcotic,opium or derivative w ith intentto sell,deliver,m anufacture w ithin 1000 feetofa place

    ofw orship. W hile a variety ofpillsw ere found in the hofne,including Ecstasy,M D M A ,M D PA

    and sleeping pills,this Courtdid not hear any evidence thatw ould prove distribution instead of

    personaluse. Thus the governm ent has notm et its burden w ith respect to the fourth offense

    alleged in Violation 2.

                  The fifth offense alleged in V iolation 2 isthat defendantused orpossessed drug

    paraphernalia in violation of state law . The evidence show s that on M ay 16th police found a

    Judge-brand digitalscale in D efendant'shom e and,like the Judge-brand scale found in histruck

    on April21st,thescaleinhishomehad marijuanaresidueon it.Law enforcementalso found
    num erous clear baggies throughoutthe hom e,and Det.D ellacroce testified that baggies of this

    sortare often used to distribute drugs.Atj 893.145,Fla.Stat.,Florida defines illegaldtdrug
    paraphernalia''broadly.Itincludesscalesforweighing ormeasuring drugs,see j 893.145(5),
    Fla.Stat.andGradvv.State,753 So.2d744 (F1a.3rdDCA 2000),anditincludesbaggies,seej
    893.14549)and(10)and Statev.M ccrav,561So.2d257(Fla.1990).ThisCourtthereforefsnds
    the governm enthasm etitsburden asto thefsfth offense in V iolation 2


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                   The sixth offense alleged in V iolation 2 is that Defendant possessed new or

    legend drugs w ithout a valid prescription. The only evidence regarding drugs of this sort

    involved the two sleeping pills found in D efendant's nightstand. The testim ony was lim ited,

    how ever,asto the type ofsleeping pills involved or whetherthey required a prescription. A s a

    result,this Coul'tconcludes thatthe governm enthas notm etits burden w ith respectto the sixth

    offense alleged in V iolation 2.

                   Violation 3 is based on a federalcom plaintagainst Defendantcharging felon in

    possession ofa'irearm oram m unition in violation offederallaw . This violation is based on the

    sam e conduct underlying the second state offense in V iolation 2,w ith the only difference being

    that in the federal case the governm ent m ust also proye the w eapon traveled in interstate

    com m erce. Atthe finalhearing,the parties stipulated thatthe firearm sand am m unition involved

    traveled in interstate com m erce. As a result, this Court's analysis of Violation 3 tracks its

    analysis ofthe irstoffense alleged in V iolation 2 as setoutpreviously atparagraphs 27 through

    31. ThisCourttherefore tsndsthatthe governm enthasm etitsburden asto V iolation 3.

           A CCO RD IN GLY ,this Court recomm ends to the D istrict Courtthat the D efendant be

    found to have violated hissupervised release in respectto V iolations 1,2,and 3,exceptthatw ith

    respect to Violation 2,this Courtdoes not find that Defendant possessed a synthetic narcotic,

    opium or derivative w ith intent to sell,deliver, manufacture w ithin 1000 feet of a place of

    w orship,orpossessed new legend drugswithouta prescription in violation ofstate law .

           The parties shall have fourteen (14) days from the date of this Report and
    Recommendationwithinwhichtofileobjections,ifany,withtheHonorableDonaldL.Graham,
    the U nited States District Judge assigned to this case. Pursuantto FederalRules of Crim inal


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    Procedure,Rule59(b)(2),failureto fileobjectionstimely waivesaparty'srighttoreview and
     barsthepartiesfrom attacking on appealany legalrulingsand factualfindingscontained herein.
            o o xE AN o sc sM l-l--
                                  rEo this 18th day of August, 2017 at Fort Pierce,N orthern

     Division ofthe Southern D istrictofFlorida.

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     CC: Hon.Donald L.Graham
         DanielFunk,AU SA
         FletcherPeacock,AFPD
         U .S.Probation Office
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